      Case 2:24-cv-02707-JTM-MBN              Document 1-1      Filed 11/19/24 Page 1 of 2
                                                              U.S. Department of Justice
                                                              Civil Rights Division
                                                              NOTICE OF RIGHT TO SUE WITHIN 90 DAYS

VIA EMAIL                                                     150 M Street, N.E.
                                                              Karen Ferguson , EMP, 4CON, Room 9.514
                                                              Washington, DC 20530

                                                              August 20, 2024

Mr. Jerald A. Holmes
2552 Prancer St.
New Orleans, LA 70131

Re: EEOC Charge Against Orleans Levee District Police, et al.
No. 461202300308

Dear Mr. Holmes:

   Because you filed the above charge with the Equal Employment Opportunity Commission, and
more than 180 days have elapsed since the date the Commission assumed jurisdiction over the charge,
and no suit based thereon has been filed by this Department, and because you have specifically
requested this Notice, you are hereby notified that you have the right to institute a civil action under
Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. 2000e, et seq., against the above-
named respondent.
   If you choose to commence a civil action, such suit must be filed in the appropriate Court within
90 days of your receipt of this Notice. If you cannot afford or are unable to retain an attorney to
represent you, the Court may, at its discretion, assist you in obtaining an attorney. If you plan to ask
the Court to help you find an attorney, you must make this request of the Court in the form and
manner it requires. Your request to the Court should be made well before the end of the time period
mentioned above. A request for representation does not relieve you of the obligation to file suit
within this 90-day period.
  The investigative file pertaining to your case is located in the EEOC New Orleans District Office,
New Orleans, LA.
  This Notice should not be taken to mean that the Department of Justice has made a judgment as to
whether or not your case is meritorious.
                                                           Sincerely,

                                                        Kristen Clarke
                                                   Assistant Attorney General
                                                     Civil Rights Division

                                                  by    /s/ Karen L. Ferguson
                                                      Karen L. Ferguson
                                                 Supervisory Civil Rights Analyst
                                                 Employment Litigation Section


cc: New Orleans District Office, EEOC
    Case 2:24-cv-02707-JTM-MBN          Document 1-1   Filed 11/19/24   Page 2 of 2



Orleans Levee District Police, et al.
